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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                      :
MARK C. HOLLENBAUGH,                                  :         CASE NO. 5:05-CV-207
Administrator of the Estate of                        :
Joel Hollenbaugh deceased,                            :
                                                      :
                  Plaintiff,                          :
                                                      :
vs.                                                   :         OPINION & MEMORANDUM
                                                      :         [Resolving Doc. Nos. 104, 106]
THOMAS G. MAURER,                                     :
SHERIFF, WAYNE COUNTY, et al.,                        :
                                                      :
                  Defendants.                         :
                                                      :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

          On February 4, 2005, Marc C. Hollenbaugh, on behalf of the estate of Joel Hollenbaugh,

sued Thomas G. Maurer and others for events relating to Joel Hollenbaugh’s death. The plaintiff

brings his claim under 42 U.S.C. § 1983, alleging the defendants violated Joel Hollenbaugh’s Fifth,

Eighth, and Fourteenth Amendment rights by failing to provide necessary medical care during

Hollenbaugh’s arrest and detention on May 27, 2003. The plaintiff also asserts various state law

claims.

          On August 1, 2005, Defendants City of Wooster and Scott Rotolo filed a motion for

summary judgment as to the plaintiff’s § 1983 claims. [Doc. No. 104]. On that same day,

Defendants Wayne County, Thomas G. Maurer, Cheryl A. Noah, Ann M. Obrecht, Scott Wiggam,

Nancy Ott, Patricia Schuler, Louis Johns, Douglas Johnson, and Michael Butler, also filed a motion

for summary judgment. [Doc. No. 106].


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       With their motions, the defendants argue that the plaintiff cannot point to sufficient evidence

that Hollenbaugh’s constitutional rights were violated, that the plaintiff cannot show that the city

and county defendants had a policy or practice resulting in Hollenbaugh’s death, and that the named

defendants are entitled to qualified immunity. In the event that the Court dismisses the plaintiff’s

federal claims, the defendants also ask the Court to decline to exercise jurisdiction over the

plaintiff’s state law claims. The plaintiff opposes these motions. [Doc. No. 122].

       For the reasons set forth below, the Court GRANTS in part and DENIES in part the

Defendants’ motions for Summary Judgment.

                                        BACKGROUND

       The plaintiff alleges several violations of Hollenbaugh’s constitutional rights. He claims the

defendants failed to provide adequate care to Hollenbaugh during an arrest and detention on May

27, 2003, and that this led to his death when symptoms of a heart attack were not treated. As set

forth below, the parties dispute many of the events that allegedly occurred that night.

I.     Description of the Parties

       Of the 13 defendants in this case, the plaintiff sues 6 in their individual and official

capacities. Scott Rotolo, a Wooster Police Officer, is the only City of Wooster defendant. The other

defendants were employed by the Wayne County Sheriff’s Department. From Wayne County, the

plaintiff first sues retired Sergeant Nancy Ott. At the time of the events in question, Ott was the

Sergeant in charge of the Wayne County Jail. Wayne County Defendants Michael Butler, Louis

Johns, Patricia Schuler, and Douglas Johnson were also at the jail that evening. Johnson, the

Captain of the Wayne County Jail, was allegedly at the jail for only 25 to 30 minutes that night.

Butler, a Sergeant, was the second highest ranking officer on duty. Johns and Schuler both held the


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rank of deputy and reported directly to Ott.

       The remaining named defendants include Wayne County Sheriff Thomas Maurer and

Commissioners Cheryl A. Noah, Ann M. Obrecht, and Scott Wiggam, as well as the Mayor of

Wooster, James A. Howey. These individuals were neither at the Wayne County Jail on the night

in question nor had any contact with Hollenbaugh. The plaintiff sues them only in their official

capacities. Finally, the plaintiff also sues Wayne County and the City of Wooster.

II.    The Arrest, Detention, and Subsequent Death of Joel Hollenbaugh

       At approximately 5:08 pm on May 27, 2003, Hollenbaugh and his associate, Sharon Brewer,

were involved in a minor traffic accident in Wooster, Ohio. Defendant Rotolo arrived at the scene

at 5:16 pm. At that time, he observed Brewer in the driver seat and Hollenbaugh in the passenger

seat of a U-haul vehicle. The driver of the other vehicle told Officer Rotolo that she believed

Hollenbaugh had been driving the U-haul at the time of the accident and that he and Brewer had

switched seats after the accident. When questioned, Brewer claimed that she had been driving.

Rotolo says that he noticed an overbearing smell of body odor and a trace of alcohol emanating from

the U-haul, but was not sure of the exact source of the odors. At that time, Rotolo allowed

Hollenbaugh and Brewer to leave the scene.

       Around one hour later, Rotolo went to Brewer’s residence to continue his investigation.

Once there, he found Hollenbaugh in the bathroom, allegedly smelling of alcohol. Hollenbaugh told

Officer Rotolo that he did not feel well and that he had the flu. Rotolo led Hollenbaugh outside of

the apartment complex for questioning. Hollenbaugh allegedly stated he had consumed a couple of

beers and appeared to be swaying and could not keep his balance. Rotolo then performed several

field sobriety tests on Hollenbaugh and observed signs of intoxication.         During the tests,


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Hollenbauch continued to tell Rotolo that he did not feel well and that he had diarrhea and a

headache. Rotolo then arrested Hollenbaugh and transported him to the Wayne County Jail. Upon

arriving at the jail at approximately 6:30 pm, Rotolo and another Wooster Police Officer “Goon”

escorted Hollenbaugh to the booking counter.

         According to the defendants, approximately 20 minutes passed between the time that Rotolo

first escorted Hollenbaugh to the booking counter and the time that Johns and Butler carried

Hollenbaugh into the jail’s breath test or blood alcohol content testing room (“BAC room”). During

that time, Wayne County defendants Ott, Johns, Butler, Schuler, and Johnson all had contact with

Hollenbaugh.

         Schuler was allegedly behind the booking counter when Hollenbaugh came in. At that time,

she asked Hollenbaugh the required booking questions. The defendants claim she had no further

contact with Hollenbaugh. Johnson allegedly had similarly limited contact with Hollenbaugh.

Johnson claims that he stopped by the jail around 6:15 pm to wish Ott a happy retirement, as it was

her last night. Johnson left at approximately 6:45 pm.1/

         Along with Schuler and Johnson, Defendants Ott and Butler were at the counter when Rotolo

brought Hollenbaugh in. While Butler patted him down, Hollenbaugh stated again that he had the




         1/
           Apparently, the defendants were having a retirement celebration for Ott that night. The plaintiff tries to shape
the event as a party and suggests that the defendants were cooking food and eating throughout the night. However, the
Court finds the testimony the plaintiff cites does not support this conclusion. Specifically, the plaintiff points to the
deposition testimony of Defendant Johns and Johnson. See Johns dep. 42-47, May 12, 2005; Johnson dep. 43, May 11,
2005. These defendants stated only that they had brought food in to eat for dinner. Defendant Johns said he thought
there may have been cake. Johns dep. 42:15. However, neither defendant said anything about a party. Nor does the
defendants’ testimony allude to an “entire party-like atmosphere” as the plaintiff suggests. Pl.’ Resp. Summ. J. at 3.


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flu and was going to be sick.2/ Hollenbaugh also said he needed to go to the hospital.3/

       Kelsey Amos, who was detained in the jail holding cell on the night in question, claims that

when Rotolo first brought Hollenbaugh up to the booking counter, Hollenbaugh was having trouble

standing and Rotolo was supporting him. Amos also stated that Hollenbaugh passed out or slumped

down a couple of times and that Rotolo and two sheriff’s deputies supported him at different times

by holding his arms.4/ In contrast to Amos’ testimony, Defendant Butler claims that Hollenbaugh

asked to sit down and that Butler assisted him to prevent him from falling.5/

       Butler then relayed Hollenbaugh’s answers to the booking questions to Schuler. The

defendants say that Hollenbaugh did not respond to most of the questions, including those relating

to his medical history. They also allege that he had been in the Wayne County Jail twice within the

prior 6 months and both times reported no medical conditions.

       While Schuler questioned Hollenbaugh, Defendant Johns entered the room. Also, at some

point during the questioning, Ott left to check the women’s shower room. Upon returning, she saw

that Hollenbaugh was lying flat on his back on the floor and heard him say that his chest hurt.6/ Ott

attempted to take Hollenbaugh’s blood pressure three times, using a blood pressure cuff.        The

defendants claim that each time, Hollenbaugh flailed his arm and rolled over, causing the machine

to read “error.”



       2/
            See Johnson dep. 55:10-55:12; Butler dep. 74:2-74:17, May 11, 2005.
       3/
            Butler dep. 74:19.
       4/
            Amos dep. 13, 70-74.
       5/
            Butler dep. 79-80.
       6/
            Ott dep. 158:23, May 10, 2005; Johnson dep. 73:25-74:1.


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        Ott testified that she put the cuff on Hollenbaugh’s left arm while he was lying on the

ground, but that when it was beginning to deflate he threw his arm to the right and rolled over on

his side.7/ Ott rolled him back flat on the ground and tried to test his blood pressure a second time.

She claims that Hollenbaugh rolled over again, preventing her from obtaining a reading. At first,

Ott testified that while this was going on Hollenbaugh’s eyes were closed.8/ However, she later

revised her statement, alleging that his eyes were not completely closed, but rather that he was

peaking at her. Ott maintains that Hollenbaugh was merely pretending to be ill or to have passed

out.9/ On the third attempt, Johns helped keep Hollenbaugh steady on the ground so that he could

not roll over. Johns apparently held Hollenbaugh’s wrist down while Ott pressed on Hollenbaugh’s

shoulder. The blood pressure machine read error this time as well.10/

        After the third attempt, Defendant Butler tried to manually obtain Hollenbaugh’s pulse by

placing two fingers on Hollenbaugh’s carotid artery. Butler claims that Hollenbaugh kept pinching

his neck down to try to interrupt the process, but that Butler was still able to obtain a pulse for about

5 seconds. From this reading, he says that Hollenbaugh’s pulse was between 70 to 80 beats per

minute. The plaintiff points out, however, that Butler was not looking at a clock when taking

Hollenbaugh’s pulse. In fact, Butler testified that he is not sure if he actually felt a pulse for 5

seconds and that he merely estimated that to be the time period.11/



        7/
             Ott dep. 169:2-169:20.
        8/
             Id. 172:16.
        9/
             Id. 173-174.
        10/
              Id. 178-180.
        11/
              Butler dep. 99:18-99:24.


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        The defendants claim that Butler and Johns then carried Hollenbaugh into the BAC room so

that Officers Rotolo and Goon could administer a breath test. Jail detainee Amos alleges he saw the

officers dragging Hollenbaugh past his cell at that point.12/ The defendants placed Hollenbaugh in

a chair and he slumped down and put his feet up on Officer Goon’s chair. Officer Goon allegedly

pushed Hollenbaugh’s feet off of the chair and Hollenbaugh fell to the floor, hitting his head on the

wall. The officers then placed Hollenbaugh back in the chair and Defendant Johns stood in front

of him to keep him steady.13/ Officer Rotolo at some point described Hollenbaugh as slipping in and

out of consciousness although he later recanted this in his deposition testimony.14/ Instead, Rotolo

claimed at that point that Hollenbaugh was intermittently opening and closing his eyes.15/ In any

case, Officer Rotolo read Hollenbaugh the instructions regarding the breath test and asked him to

consent. Hollenbaugh did not respond and the officers recorded this as a refusal to submit to the

test.

        At approximately 6:50 pm, Butler and Johns carried Hollenbaugh to holding cell 1-A.

Officers Rotolo and Goon left at that point and had no further contact with Hollenbaugh. Defendant

Johnson had also left the jail by that time. Prior to leaving, Johnson recommended that the

defendants put Hollenbaugh on a 15 minute observation schedule.

        At the same time, the defendants cite to only a few more interactions with Hollenbaugh

throughout the rest of the evening. First, almost immediately after placing him in the holding cell,


        12/
              Amos dep. 13, 69:19-69:21, 79:18.
        13/
              Butler dep. 112-115.
        14/
              Rotolo dep. 118:11-119:5.
        15/
              Id. 119:13-119:14.


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Defendants Johns and Butler decided to test Hollenbaugh’s blood pressure once more. Butler

claims, however, that upon entering the cell, he saw Hollenbaugh smiling at him and decided not

to attempt the test.16/ Johns apparently had no further contact with Hollenbaugh, but Butler claims

to have checked on him three more times. At approximately 10:00 pm, Butler entered the cell again

and saw Hollenbaugh sitting up on the middle bunk. According to Butler, Hollenbaugh told him that

he thought he had food poisoning. Butler and another inmate then allegedly exchanged comments

about Hollenbaugh being intoxicated and Butler left the cell.17/ Twice more between 10:00 pm and

12:00 am Butler saw Hollenbaugh when he brought two more inmates into the cell. Both times,

Hollenbaugh was lying down on his back.18/

       Defendant Ott also claims to have observed Hollenbaugh three times after the defendants put

him in the holding cell. Around 7:15 pm she looked in the cell and viewed Hollenbaugh lying on

his side.19/ Then, sometime between 8:00 and 9:00 pm, she entered the cell to give Hollenbaugh his

tickets. According to Ott, Hollenbaugh was lying on his back with his hand over his eyes.20/ Finally,

at some point between 9:00 and 9:30 pm, Ott heard someone vomiting in the cell.21/ When she

entered, she found Hollenbaugh sitting in front of the toilet. Hollenbaugh once again told Ott that




       16/
             Butler dep. 127.
       17/
             Butler dep. 188-89.
       18/
             Id. 157-58.
       19/
             Ott dep. 192:7-192:12.
       20/
             Id. 194.
       21/
             Id. 200:11-200:14.


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he thought he had food poisoning and needed to go to the hospital.22/ She replied that he most likely

had alcohol poisoning, but claims she meant it facetiously. She then left the cell and had no further

contact with Hollenbaugh.

       The inmates in the cell with Hollenbaugh testified that he vomited throughout the night and

that they tried without avail to get the defendants’ attention.23/ One of the inmates, Amos, testified

that Hollenbaugh said his right arm hurt, though there is no evidence that Amos reported this to the

defendants. Amos did testify that he tried to get the defendants’ attention and told certain unnamed

officers that Hollenbaugh was sick and needed help.24/ Amos further testified that when he and the

other inmates tried to get the defendants’ attention, the officers lowered the blinds over the window

to the cell and simply laughed.25/

       Early the next morning, one of the Wayne County Jail personnel discovered that Hollenbaugh

was dead. The coroner’s report revealed that Hollenbaugh died sometime between 11:30pm and

12:00 am. The coroner also determined the cause of death to be cardiac arrest caused by coronary

artery disease.

       The plaintiff alleges that had the defendants sought medical treatment for Hollenbaugh, he

would not have died. They further claim that the defendants violated Hollenbaugh’s constitutional

rights by acting with deliberate indifference in their failure to seek such care. Responding, the

defendants argue that they believed Hollenbaugh was intoxicated and that they did not realize the


       22/
             Id. 204.
       23/
             Brigman dep. 13-18, Aug. 19, 2005; Amos dep. 22-25.
       24/
             Id. 26-29.
       25/
             Id. 43-44


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 seriousness of his condition.

                                        LEGAL STANDARD

           Summary Judgment is appropriate where the evidence submitted shows that “there is no

 genuine issue as to any material fact and that the moving party is entitled to a judgment as a matter

 of law.” Fed. R. Civ. P. 56(c). The Court enters summary judgment “against a party who fails to

 make a showing sufficient to establish the existence of an element essential to that party’s case, and

 on which that party will bear the burden of proof at trial.” Celotex Corp. v. Catrett, 477 U.S. 317,

 322 (1986). The moving party always bears the initial responsibility of informing the district court

 of the basis for its motion, and identifying those portions of the record that show the absence of a

 genuine issue of material fact. Id. at 323. A fact is material if its resolution will affect the outcome

 of the lawsuit. Daughenbaugh v. City of Tiffin, 150 F.3d 594, 597 (6th Cir. 1998) (citing Anderson

 v. Liberty Lobby, 477 U.S. 242, 248 (1986)) Once the moving party satisfies its initial burden, the

 burden shifts to the non-moving part .

 y who “must set forth specific facts showing that there is a genuine issue for trial.” Anderson, 477

 U.S. at 250 (quoting Fed. R. Civ. P. 56(e)). The non-moving party cannot avoid summary judgment

 by resting on its pleadings or reasserting its previous allegations. It is insufficient “simply [to] show

 that there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co. v. Zenith

 Radio Corp., 475 U.S. 574, 586 (1986). Instead, Rule 56(e) “requires the nonmoving party to go

 beyond the pleadings” and present evidentiary material in support of its position. Celotex, 477 U.S.

 at 324.

           In deciding a motion for summary judgment, the Court views the factual evidence and draws

 reasonable inferences in favor of the non-moving party. National Enters., Inc. v. Smith, 114 F.3d


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 561, 563 (6th Cir. 1997). The Court must decide “whether the evidence presents sufficient

 disagreement to require submission to a jury or whether it is so one-sided that one party must prevail

 as a matter of law.” Terry Barr Sales Agency, Inc. v. All-Lock Co., 96 F.3d 174, 178 (6th Cir. 1996)

 (internal punctuation omitted). “The mere existence of a scintilla of evidence in support of a

 plaintiff’s position will be insufficient; there must be evidence on which the jury could reasonably

 find for the plaintiff.” Street v. J.C. Bradford & Co., 886 F.2d 1472, 1477 (6th Cir. 1989) (citation

 and internal punctuation omitted). The Court “is not . . . obligated to wade through and search the

 entire record for some specific facts that might support the nonmoving party’s claim.” Interroyal

 Corp. v. Sponseller, 889 F.2d 108, 111 (6th Cir. 1989).

                                            DISCUSSION

        The plaintiff alleges that the defendants violated Hollenbaugh’s constitutional rights by acting

 with deliberate indifference to Hollenbaugh’s health and well being. Section 1983 gives this Court

 jurisdiction over actions seeking recovery for constitutional deprivations suffered under the color of

 state law. 42 U.S.C. § 1983 (stating that every person who, under color of state law, causes the

 “deprivation of any rights, privileges, or immunities secured by the Constitution and laws, shall be

 liable to the party injured. . . .”); Foy v. City of Berea, 58 F.3d 227, 229 (6th Cir. 1995) (“In order

 to prevail in a section 1983 action, the plaintiff must prove that some conduct by a person acting

 under color of state law deprived the plaintiff of a right secured by the Constitution or other federal

 laws.”).

 I.     Individual Capacity Claims

        The plaintiff sues Defendants Rotolo, Johnson, Ott, Butler, Johns, and Schuler, in their

 individual capacities. These defendants argue that their actions did not amount to a violation of


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 Hollenbaugh’s constitutional rights. They also argue that they are entitled to qualified immunity as

 to all § 1983 claims.

        The doctrine of qualified immunity shields state and local actors from liability based on their

 discretionary acts. Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982) (holding that “government

 officials performing discretionary functions generally are shielded from liability for civil damages”).

 In doing so, the doctrine gives state actors the freedom to perform their official duties without fear

 that even a slight misstep will trigger their financial ruin. Wyatt v. Cole, 504 U.S. 158, 167 (1992)

 (“Accordingly, we have recognized qualified immunity for government officials where it was

 necessary to preserve their ability to serve the public good or to ensure that talented candidates were

 not deterred by the threat of damage suits from entering public service.”).

        Nevertheless, state actors lose this immunity when they violate clearly established

 constitutional rights of which a reasonable person would have known. Harlow, 457 U.S. at 818

 (holding that qualified immunity shields state actors only “insofar as their conduct does not violate

 clearly established statutory or constitutional rights of which a reasonable person would have

 known.”). The doctrine thus offers no solace to “the plainly incompetent or those who knowingly

 violate the law.” Malley v. Briggs, 475 U.S. 335, 341 (1986).

        The Sixth Circuit Court of Appeals set forth a three-part test for evaluating claims of qualified

 immunity:

        First, we determine whether a constitutional violation has occurred; second, we
        determine whether the right that was violated was a clearly established right of which
        a reasonable person would have known; finally we determine whether the Plaintiff
        has alleged sufficient facts, and supported the allegations by sufficient evidence, to
        indicate that what the official allegedly did was objectively unreasonable in light of
        the clearly established constitutional rights.



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 Williams v. Mehra, 186 F.3d 685, 691 (6th Cir. 1999) (en banc) (internal quotation marks omitted)

 (citing Dickerson v. McClellan, 101 F.3d 1151, 1157-58 (6th Cir. 1996)).

          Accordingly, in analyzing the plaintiff’s § 1983 claims, the Court looks first to whether the

 plaintiff offers sufficient evidence of a constitutional violation. If so, the Court decides whether the

 violation involved a clearly established constitutional right of which a reasonable person would have

 known. And third, the Court looks at whether the defendants’ actions were objectively unreasonable.

          The plaintiff claims that the defendants’ denial of medical care to Hollenbaugh violated

 Hollenbaugh’s Fifth, Eighth, and Fourteenth Amendment rights. As Hollenbaugh was a state pretrial

 detainee in state custody, the plaintiff’s claim properly falls under the Fourteenth Amendment.26/

          The Due Process Clause of the Fourteenth Amendment gives pretrial detainees the same

 rights as provided to convicted prisoners under the Eighth Amendment. See Bell v. Wolfish, 441 U.S.

 520, 545 (1979); Barber v. City of Salem, 953 F.2d 232, 235 (6th Cir. 1992). The Supreme Court

 has held that deliberate indifference to the serious medical needs of a prisoner is a violation of the

 Eighth Amendment. See Estelle v. Gamble, 429 U.S. 97, 104 (1976). As a result, a pretrial detainee

 also has a limited right to medical assistance while in custody. Specifically, the Sixth Circuit has


          26/
              The plaintiff also alleges the defendants violated Hollenbaugh’s Eighth Amendment rights. However, the
 Eighth Amendment does not apply to pretrial detainees. See Estate of Harbin v. City of Detroit, No. 03-2486, 2005 WL
 2108326 (6th Cir. 2005) (“Though the Eighth Amendment's prohibition of cruel and unusual punishment does not apply
 to pretrial detainees, the Fourteenth Amendment's Due Process Clause affords pretrial detainees a right to adequate
 medical treatment that is analogous to the Eighth Amendment rights of prisoners.”). The plaintiff also alleges that the
 defendants’ denial of medical care amounted to punishment in violation of the Fifth Amendment. Ordinarily, the Fifth
 Amendment applies to federal rather than state pretrial detainees. See Scott v. Clay County, 205 F.3d 867 (6th Cir.
 2000). However, in Watkins v. City of Battle Creek, 273 F.3d 682 (6th Cir. 2001), the Sixth Circuit applied the Fifth
 Amendment’s prohibition against the punishment of pretrial detainees to a state pretrial detainee. To this extent, the
 Sixth Circuit apparently recognizes such a claim apart from a claim under the Fourteenth Amendment. In the present
 case, however, the Court finds that while the defendants may have acted with deliberate indifference toward
 Hollenbaugh, the plaintiff fails to point to sufficient evidence to show that the defendants intended to punish
 Hollenbaugh. See id. at 687. The Court thus finds that the plaintiff’s claim is more properly stated under the Fourteenth
 Amendment.



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 held that when “‘circumstances are clearly sufficient to indicate the need of medical attention for

 injury or illness’, anyone who is incarcerated, whether for a serious crime or to sleep off a drunk, has

 the due process right to adequate medical care.” Danese v. Asman, 875 F.2d 1239, 1243 (6th Cir.

 1989) (quoting Fitzke v. Shappell, 468 F.2d 1072, 1076 (6th Cir.1972)).

         To establish a violation of the right to adequate medical assistance, a pretrial detainee must

 show that a government actor, operating with deliberate indifference, exposed the detainee to

 substantial risk of serious damage to the detainee's health. See Farmer v. Brennan, 511 U.S. 825,

 828-29 (1994). The standard for establishing deliberate indifference is rather demanding. For

 liability to attach, the government actor must know of and disregard a serious risk to the detainee’s

 health. See id. at 837-38 (“the official must both be aware of facts from which the inference could

 be drawn that a substantial risk of serious harm exists, and he must also draw the inference”). A

 plaintiff “need not show that a prison official acted or failed to act believing that harm actually would

 befall an inmate; it is enough that the official acted or failed to act despite his knowledge of a

 substantial risk of serious harm.” Id. at 842.

         Dealing first with Defendant Schuler, the Court finds the plaintiff fails to establish that she

 deliberately disregarded a known serious risk to Hollenbaugh’s health. The defendants claim, and

 the plaintiff cannot contradict, that Schuler had only very limited contact with Hollenbaugh when

 Rotolo first brought him into the jail. It does not appear that Schuler ever directly interacted with

 Hollenbaugh or that she was even present for most of the relevant events.

         In contrast, the Court finds that the plaintiff points to evidence sufficient to survive summary

 judgment as to the remainder of the defendants. Defendants Rotolo, Johns, Butler, Ott, and Johnson

 all dealt directly with Hollenbaugh and had opportunity to closely observe him. At one point or


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 another, Hollenbaugh made statements to each of these defendants, or at least in the presence of these

 defendants, that he was not feeling well, thought he had the flu or food poisoning, was having chest

 pains, and wanted to go to the hospital.

           The defendants maintain that they believed Hollenbaugh to be drunk and to be faking illness.

 There is, however, sufficient evidence to create a genuine issue of fact as to whether the defendants

 knew that Hollenbaugh was seriously ill. See Farmer, 511 U.S. at 842 (“Whether a prison official

 had the requisite knowledge of a substantial risk is a question of fact subject to demonstration in the

 usual ways, including inference from circumstantial evidence . . . and a factfinder may conclude that

 a prison official knew of a substantial risk from the very fact that the risk was obvious.”) (emphasis

 added).

           The defendants suggest that they could not have known of the risk because Hollenbaugh

 never reported having a heart condition and did not directly state that he was having a heart attack.

 Apparently, the defendants take the position that Hollenbaugh would have had to self-diagnose his

 heart condition and impending heart attack in order for the defendants to be aware of a substantial

 risk to Hollenbaugh’s health.

           This is inconsistent with both common sense and with the standard for demonstrating

 deliberate indifference. The plaintiff does not have to show that the defendants knew of the exact

 medical risk threatening Hollenbaugh. The plaintiff need only point to sufficient evidence that the

 defendants were aware of facts from which they could draw the inference that a substantial risk of

 harm existed and that they indeed drew such an inference. Farmer, 511 U.S. at 837. In the present

 case, there is ample evidence that Hollenbaugh elicited signs of a serious risk to his health. For

 example, he was incoherent, had difficulty standing, and kept trying to lie down. He vomited several


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 times throughout the night. He repeatedly complained that he felt ill and thought he had the flu or

 food poisoning. More importantly, he stated that his chest hurt and at least twice said to go to the

 hospital. Essentially, he did everything short of stating that he was having a heart attack.

        The defendants’ own reactions to Hollenbaugh indicate their awareness that he required

 medical care. Defendants Ott and Butler attempted to take Hollenbaugh’s blood pressure several

 times. These defendants give no sufficient explanation why, if they only believed Hollenbaugh to

 be drunk, they would attempt the blood pressure tests on several occasions. Additionally, Johnson’s

 suggestion that the defendants put Hollenbaugh on 15 minute checks evidences concern that

 Hollenbaugh was in fact suffering from a serious medical condition and needed to be watched

 closely.

        The defendants did nothing more to investigate Hollenbaugh’s condition. They clearly took

 Hollenbaugh’s complaints seriously enough to try to test his blood pressure several times. Yet, when

 the blood pressure machine continued to read error, they failed to contact the on-call nurse to either

 ask her to examine Hollenbaugh or at least elicit advice as to how they should proceed. Butler was

 able to manually obtain a brief pulse, but only for seconds. He admits that his reading was a mere

 estimate. That he subsequently decided to try again to obtain Hollenbaugh’s pulse using the blood

 pressure machine shows also that he remained concerned about Hollenbaugh’s condition. Butler

 claims that he ultimately decided to forgo the test because he did not feel that Hollenbaugh was in

 serious need of medical assistance. But his testimony reveals no event that specifically assuaged his

 apparent concern. Instead, Butler’s statement that he decided not to administer the test after

 Hollenbaugh smiled at him is evidence that Butler simply chose not to deal with Hollenbaugh.

        The defendants additionally acted inconsistently with Wayne County’s own policies


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 regarding medical care for inmates. Specifically, Wayne County Jail personnel are required to

 diligently observe an individual upon admission to the jail. If they notice signs of a serious illness,

 they are required to send that individual to a hospital.27/

          In the present case, the defendants simply put Hollenbaugh in the holding cell and may or

 may not have checked on him on a frequent basis. The evidence certainly presents a question as to

 whether the defendants actually did check on Hollenbaugh every 15 minutes, as they claim.28/ In

 any case, the defendants provided little else in the way of basic care. They did not, for instance,

 attempt to ascertain Hollenbaugh’s temperature. Nor, as stated above, did they call a nurse or any

 other medical professional.

          Finding that the plaintiff points to sufficient evidence that Defendants Rotolo, Ott, Butler,

 Johns, and Johnson violated Hollenbaugh’s Fourteenth Amendment rights, the court now turns to the

 remainder of the qualified immunity analysis. First, the Court finds that the defendants should have

 been aware of Hollenbaugh’s Fourteenth Amendment right to adequate medical care. See Estate of

 Owensby v. City of Cincinnati, 414 F.3d 596, 604 (6th Cir. 2005) (“[I]n general, the Fourteenth

 Amendment right of pretrial detainees to adequate medical care is, and has long been, clearly

 established.”).

          Additionally, the Court finds that the defendants’ failure to transfer Hollenbaugh to the

 hospital or at the very least to contact the on-call nurse to be objectively unreasonable. Though

          27/
                Ott dep. 109:12-110:23.
          28/
               Deputy Johns, for example, testified that he did not actually see whether any of the defendants observed
 Hollenbaugh every 15 minutes. Johns dep. 91:15-92:5. Johns also testified that on some occasions the deputies keep
 check a sheet, which is basically a record of each time a deputy checks the inmate and an observation of what the inmate
 is doing at that time. Id. 92:6-93:3. On this particular occasion, the defendants kept no such record of their alleged
 observation of Hollenbaugh. There is some evidence that Ott and Butler went into Hollenbaugh's cell at various points
 throughout the evening, but no indication that they checked on him every 15 minutes.


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 Hollenbaugh was allegedly intoxicated when arrested and brought to the Wayne County Jail, he was

 apparently adamant about his need of medical attention and his belief that he was suffering from a

 serious medical condition. More than once, he communicated symptoms to the defendants that

 would have led a reasonable officer to conclude that they should at least elicit the opinion of a

 medical professional. The court thus finds that the defendants are not entitled to qualified immunity

 and denies summary judgment as to the plaintiff’s individual capacity claims against Defendants

 Rotolo, Ott, Butler, Johns, and Johnson.

 II.      Official Capacity Claims Against the City of Wooster and Wayne County

          The plaintiff also sues the City of Wooster, Wayne County, and all of the named defendants

 in their official capacities,29/ alleging that they maintained an official custom or policy resulting in

 the deprivation of Hollenbaugh’s constitutional rights. Specifically, the plaintiff alleges that

 Defendants Wooster and Wayne County failed to properly train its employees as to adequate

 standards and procedures for dealing with the medical needs of prisoners. The plaintiff also claims

 that the defendants’ general treatment of Hollenbaugh in and of itself evidences a custom or policy

 on the part of Wooster and Wayne County to deny prisoners adequate medical care.

          While a municipality is subject to suit under § 1983, Monell v. New York City Dep't of Social

 Servs., 436 U.S. 658, 690 (1978), a municipality does not incur § 1983 liability based solely on the

 unconstitutional acts of its employees. That is, a municipality cannot be held liable on a theory of

 respondeat superior. City of Canton v. Harris, 489 U.S. 378, 385 (1989); Monell, 436 U.S. at 694-95.


          29/
               The plaintiff’s claims against the named defendants in their official capacities are essentially claims against
 the local governments or municipalities. See Taylor v. Franklin County, Ky., 104 Fed. Appx. 531, 541 (6th Cir. 2004)
 (citing Leach v. Shelby County Sheriff, 891 F.2d 1241, 1244 (6th Cir.1989)) (“A suit against an individual ‘in his official
 capacity has been held to be a suit directly against the local government unit and may result in the municipality's
 liability.”). As such, these claims are considered together with the plaintiff’s claims against Wooster and Wayne County.


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 Rather, a plaintiff must show that the municipality's own policies or customs proximately caused the

 constitutional violation: “[I]t is when execution of a government's policy or custom, whether made

 by its lawmakers or by those whose edicts or acts may fairly be said to represent official policy,

 inflicts the injury that the government entity is responsible under § 1983.” Monell, 436 U.S. at 694.

         Turning first to the plaintiff’s failure to train claim, the Court finds the plaintiff fails to

 present sufficient evidence to survive summary judgment. A government entity incurs liability under

 § 1983 only when its failure to train served as the “moving force” behind an underlying

 constitutional violation. Id. at 658; City of Canton, 489 U.S. at 391 (stating that failure to train

 would not lead to municipal liability unless the plaintiff could prove that “deficiency in training

 actually caused the police officers' indifference to her medical needs”). Furthermore a plaintiff must

 show that the municipality’s failure to train its officers amounts to deliberate indifference to the

 rights of persons with whom the police came into contact. Berry v. City of Detroit, 25 F.3d 1342,

 1345 (6th Cir.1994) (citing City of Canton, 489 U.S. at 388-89). “In resolving the issue of a city’s

 liability, the focus must be on adequacy of the training program in relation to the tasks the particular

 officers must perform. That a particular officer may be unsatisfactorily trained will not alone suffice

 to fasten liability on the city, for the officer’s shortcomings may have resulted from factors other than

 a faulty training program.” City of Canton, 489 U.S. at 390-91.

         As proof of the defendants’ alleged failure to properly train city and county employees, the

 plaintiff points to little more than the defendants’ alleged actions on the night in question. Aside

 from this, the plaintiff relies heavily on the expert report of R. Paul McCauley, PhD, BCFE. Dr.

 McCauley largely offers the opinion that the individual defendants’ actions fell below the standard

 of care for monitoring detainees’ health and safety. He also indicates that properly trained officers


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 would have responded differently to a detainee presenting Hollenbaugh’s symptoms. However, Dr.

 McCauley does not claim to have reviewed the actual training policies and procedures of Defendants

 Wooster or Wayne County. Nor does he point to any specific aspect of this training that he finds

 problematic.

        McCauley did state that the defendant municipalities’ failure to perform an internal

 investigation into the actions of the named defendants demonstrates an indifference to uncovering

 and remedying problems in training procedures. However, the defendants maintain that the State of

 Ohio regularly reviews the policies and procedures of Wayne County and the Wayne County Jail.

 Those policies and procedures were at relevant times and continue to be in compliance with State

 of Ohio mandates. Additionally the Wayne County Jail is accredited by the National Commission

 of Correctional Healthcare. The Wayne County defendants also claim that Wayne County Jail

 deputies receive training in CPR and first aid, in accordance with the American Red Cross training

 procedures. The plaintiff provides no evidence that any of these procedures or policies are lacking.

 Instead, the plaintiff simply alleges that the defendants did not act in accordance with these

 procedures. The plaintiff thus fails to show that the defendant municipalities’ training practices were

 so deliberately indifferent to the rights of detainees as to warrant liability under Monell.

        The plaintiff additionally argues that the individual defendants’ acts evince an official custom

 or practice of denying pretrial detainees adequate medical care. “A municipal ‘custom’ may be

 established by proof of the knowledge of policymaking officials and their acquiescence in the

 established practice.” Memphis, Tenn. Area Local, Am. Postal Workers Union v. City of Memphis,

 361 F.3d 898, 902 (6th Cir. 2004). Such a practice gives rise to Monell liability only where it is “‘so

 permanent and well settled as to constitute a custom or usage with the force of law.’” Doe v.


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 Claiborne County, Tenn., 103 F.3d 495, 507 (6th Cir.1996) (quoting Monell, 436 U.S. at 691). In

 other words, the custom “must include '[d]eeply embedded traditional ways of carrying out state

 policy.’” Id. (quoting Nashville, Chattanooga & St. Louis Ry. Co. v. Browning, 310 U.S. 362, 369

 (1940)).

        The Sixth Circuit has held that in the context of alleged failure to provide medical care, the

 plaintiff must show that the municipality engaged in a custom or practice of deliberate indifference

 to detainees’ medical needs. See Miller v. Calhoun County, 408 F.3d 803, 815 (6th Cir. 2005). It

 further stated that this “typically requires proof that the municipality was aware of prior

 unconstitutional actions by its employees and failed to take corrective measures.” Id. (holding that

 a plaintiff who “failed to make the threshold showing of a clear and persistent pattern of mistreatment

 of detainees” could not establish a custom or policy of deliberate indifference).

        As with the failure to train claim, the plaintiff presents almost no evidence that Wayne

 County or Wooster engaged in a custom of deliberate indifference toward detainees’ medical needs.

 Specifically, the plaintiff cites to no incidents other than the one in question. Therefore, the record

 contains no evidence that either Wayne County or Wooster had knowledge of prior occasions where

 officers failed to properly respond to a detainee’s medical needs. A single incident possibly

 amounting to a violation of a detainee’s rights does not amount to a pattern of mistreatment. Nor

 does it evince acquiescence or implicit support of such behavior on the part of the defendants.

 Because the plaintiff does not come forward with sufficient evidence of a policy or custom of

 constitutional violation, the Court thus grants summary judgment as to the plaintiff’s § 1983 claims

 against Wayne County, Wooster, and the named defendants in their official capacities.




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                                          CONCLUSION

        For the reasons stated above, the Court GRANTS the defendants’ motions for summary

 judgment as to the plaintiff’s § 1983 claims against Wayne County, Wooster, the named defendants

 in their official capacities, and Defendant Schuler in her individual capacity. However, the Court

 DENIES the defendants’ motions as to the plaintiff’s § 1983 individual capacity claims against

 Defendants Rotolo, Ott, Butler, Johns, and Johnson. As a portion of the plaintiff’s federal claims

 survive summary judgment, the Court retains jurisdiction over the plaintiff’s state law claims.

        IT IS SO ORDERED.



 Dated: November 10, 2005                              s/       James S. Gwin
                                                       JAMES S. GWIN
                                                       UNITED STATES DISTRICT JUDGE




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